  Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 1 of 15 PageID #: 1




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS

                                                    §
  Lee Compton,                                      §
                                                    §
                       Plaintiff,                   §      Civil Action No. 4:22-cv-00331
                                                    §
        v.                                          §
                                                    §
  John Does 1-10.                                   §
                                                    §
                        Defendants.                 §
                                                    §


                                            COMPLAINT
       Plaintiff Lee Compton (hereinafter referred to as “Compton” or “Plaintiff”), by and through
his attorneys, Kimmel & Silverman, P.C., alleges the following against John Does 1-10.


                                          INTRODUCTION


       1.      Plaintiff’ Complaint is based on the Telephone Consumer Protection Act (TCPA), 47

U.S.C. §227 et seq.

       2.      In 1991, President George H.W. Bush signed into law the TCPA, which was passed in

a bi-partisan manner, to protect consumers’ privacy rights; specifically, the right to be left alone from

unwanted telemarketing calls.

       3.      A leading sponsor of the TCPA described telemarketing “robocalls” the scourge of

modern civilization.” 137 Cong. Rec. 30821 (1991).

       4.      The TCPA, through the accompanying Code of Federal Regulations, 47 C.F.R. §

64.1200 et seq., affords special protections for people who registered their phone numbers on the

National Do Not Call Registry.



                                                    1
  Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 2 of 15 PageID #: 2




       5.         Where a consumer’s phone number is registered on the Do Not Call registry, the TCPA

requires that telemarketers provide clear and conspicuous notice to the consumer that it will be making

telemarketing calls for solicitation or advertising purposes, and requires that the consumer provide

express written consent.

       6.         Section 227(c)(5) of the TCPA provides that each person who receives more than one

call within a 12-month period on their phone, where that person did not provide express written

consent upon a clear and conspicuous disclosure from the telemarketer, after the phone number was

registered on the National Do Not Call Registry for more than 31 days is entitled to recover a penalty

of $500 per call, and up to $1,500 per call if the TCPA is willfully or knowingly violated.

                                               The Parties

       7.         Plaintiff Lee Compton is an adult citizen who at all times relevant to this Complaint

resided in McKinney Texas.

       8.         John Does 1-10 are persons of unknown identities responsible for making Spanish

language robocalls to Mr. Compton’s cell phone at (972) XXX-9695.

                                        Jurisdiction and Venue


       9.         This Court has subject-matter jurisdiction over the TCPA claims in this action under

28 U.S.C. § 1331, which grants this court original jurisdiction of all civil actions arising under the

laws of the United States. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368, 386-87 (2012)

(confirming that 28 U.S.C. § 1331 grants the United States district courts federal-question subject-

matter jurisdiction to hear private civil suits under the TCPA).

       10.        This Court has personal jurisdiction over Defendants, as they conduct business in the

State of Texas.



                                                    2
  Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 3 of 15 PageID #: 3




       11.     Furthermore, this Court has personal jurisdiction over this action because the Plaintiff,

Mr. Compton, resides and works in McKinney, Texas, which is within this District. Mr. Compton

received a majority of the offending robocalls and experienced resulting damages within this District.

       12.     The Defendants, whose identities remain unknown, availed themselves to this forum

by placing calls to Mr. Compton’s “972” area code cell phone.

       13.     Accordingly, a substantial percentage of the occurrences and events which underlie this

lawsuit occurred within this District.

       14.     Venue is proper under 28 U.S.C. § 1391(b)(2).




                                     Statement of Relevant Facts

       15.     At all times relevant to this Complaint, Mr. Compton owned a cell phone, the number

for which was (972) XXX-9695.

       16.     Mr. Compton used that cell phone primarily for residential purposes.

       17.     Mr. Compton registered his cell phone number on the National Do Not Call Registry

on or around January 3, 2005.

       18.     Mr. Compton registered his cell phone number on the National Do Not Call Registry

to obtain solitude from unwanted and invasive telemarketing calls.

       19.     Mr. Compton was enrolled in a health insurance policy at all times relevant to this

lawsuit. Accordingly, Compton was not in the market for health insurance, did not consent or provide

permission for telemarketers to place telemarketing calls, or calls with a pre-recorded voice about

health insurance.

       20.     Furthermore, Mr. Compton does not speak the Spanish language.




                                                   3
  Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 4 of 15 PageID #: 4




        21.    Despite the fact that Mr. Compton’s number had been registered on the Do Not Call

Registry at all times, despite not having consented to receive telemarketing and/or pre-recorded calls

about health insurance and despite not speaking the Spanish language, Mr. Compton’s cell phone has

been inundated with robocalls containing pre-recorded Spanish messages soliciting health insurance

policies.

        22.    Mr. Compton understands the aforementioned robocalls pertain to health insurance

because he played the recordings to Spanish-speaking family and friends who confirmed the content

and nature of the calls.

        23.    An example of a message received by Compton is below, followed by an English

translation:

                Message:
                Soy Sarah del departamento de seguros médicos, puedes calificar para
                poder recibir un seguro gratuito. Prima cero, copago cero. Presione uno
                ahora para obtener información. Presione dos para ser eliminado de la
                lista.

                Translation:
                I’m Sarah from the department of medical insurance you can qualify to
                be able to receive free insurance. Zero premium, zero copay. Press one
                now to get information. Press two to be taken off the list.

        24.    Since Mr. Compton began tracking these calls, Defendants placed a shocking and

extraordinary volume of invasive and irritating telemarketing calls to Compton’s cell phone in

furtherance of its efforts to sell medical insurance, for which the which the Comptons had no interest

or need and did so in a language he does not speak.

        25.    Mr. Compton received calls on instances including but not limited to the following

      Date and Time                                     Caller ID:
      03/03/21 04:28:03 PM                              1 (469) 248-4968

      03/08/21 02:52:17 PM                              1 (832) 674-8992


                                                  4
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 5 of 15 PageID #: 5




   03/10/21 06:58:14 PM                  1 (915) 745-3689

   03/12/21 01:37:47 PM                  1 (972) 647-1408

   03/26/21 01:37:22 PM                  1 (972) 246-1544

   04/09/21 12:56:15 PM                  1 (972) 276-4309

   04/09/21 03:33:15 PM                  1 (972) 636-9119
   04/14/21 02:49:19 PM                  1 (972) 642-9152
   04/14/21 07:16:19 PM                  1 (972) 473-1949
   04/15/21 02:16:19 PM                  1 (972) 421-2858
   05/06/21 02:53:29 PM                  1 (972) 982-1849
   05/07/21 07:38:30 PM                  1 (972) 334-5385
   05/10/21 03:25:32 PM                  1 (832) 771-6005
   05/11/21 07:16:34 PM                  1 (972) 539-5639
   05/11/21 07:35:34 PM                  1 (972) 530-6869
   05/12/21 07:05:35 PM                  1 (972) 534-8264
   05/14/21 02:25:27 PM                  1 (903) 436-4243
   05/14/21 05:26:27 PM                  1 (210) 563-6572
   05/17/21 02:10:49 PM                  1 (972) 275-3177
   05/17/21 07:26:49 PM                  1 (903) 814-3525
   05/18/21 03:55:50 PM                  1 (325) 999-7629
   05/28/21 06:33:46 PM                  1 (936) 730-2246
   06/16/21 05:43:09 PM                  1 (210) 233-5730
   06/18/21 05:35:11 PM                  1 (214) 593-5290
   06/21/21 12:56:12 PM                  1 (254) 503-8539
   06/21/21 01:02:12 PM                  1 (469) 204-6349
   06/22/21 02:52:13 PM                  1 (830) 645-2794
   06/22/21 03:25:14 PM                  1 (214) 716-8613
   06/22/21 03:40:14 PM                  1 (432) 688-8137



                                     5
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 6 of 15 PageID #: 6




   06/22/21 06:32:14 PM                  1 (210) 965-5302
   06/23/21 12:33:14 PM                  1 (210) 507-7951
   06/23/21 01:49:15 PM                  1 (214) 279-7746
   06/23/21 06:28:15 PM                  1 (713) 497-6572
   06/24/21 03:34:15 PM                  1 (512) 352-7508
   06/24/21 06:47:16 PM                  1 (806) 434-7248
   06/25/21 02:57:16 PM                  1 (713) 740-6758
   06/28/21 12:33:08 PM                  1 (817) 816-6756
   06/29/21 02:44:10 PM                  1 (469) 285-7206
   06/30/21 02:36:11 PM                  1 (956) 723-5507
   07/01/21 05:26:12 PM                  1 (979) 732-1677
   07/02/21 02:44:13 PM                  1 (972) 306-6449
   07/06/21 05:10:15 PM                  1 (936) 257-6881
   07/07/21 02:45:16 PM                  1 (979) 292-8602
   07/07/21 03:28:16 PM                  1 (713) 904-8450
   07/09/21 01:49:34 PM                  1 (409) 557-2536
   07/09/21 06:44:34 PM                  1 (281) 685-8022
   07/09/21 06:46:34 PM                  1 (817) 283-4923
   07/12/21 12:16:36 PM                  1 (979) 633-0948
   07/12/21 03:28:36 PM                  1 (432) 363-3353
   07/13/21 01:07:37 PM                  1 (806) 267-0179
   07/13/21 01:40:37 PM                  1 (214) 794-3401
   07/13/21 02:59:37 PM                  1 (979) 691-3944
   07/14/21 12:40:38 PM                  1 (346) 403-4678
   07/14/21 06:31:38 PM                  1 (254) 274-7650
   07/15/21 03:52:45 PM                  1 (956) 972-7391
   07/15/21 05:43:45 PM                  1 (430) 305-2155
   07/15/21 05:50:45 PM                  1 (915) 626-3894



                                     6
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 7 of 15 PageID #: 7




   07/16/21 01:00:46 PM                  1 (682) 509-4927
   07/19/21 05:20:48 PM                  1 (409) 356-448
   07/20/21 03:27:49 PM                  1 (713) 207-6860
   07/21/21 06:23:50 PM                  1 (210) 900-1279
   07/21/21 06:33:50 PM                  1 (682) 706-4968
   07/22/21 01:45:50 PM                  1 (214) 388-6101
   07/22/21 06:24:50 PM                  1 (210) 576-2536
   07/23/21 05:13:51 PM                  1 (936) 572-4596
   07/23/21 06:16:51 PM                  1 (713) 433-0110
   07/26/21 12:35:53 PM                  1 (713) 848-7364
   07/26/21 12:35:53 PM                  1 (713) 848-7364
   07/26/21 03:03:53 PM                  1 (210) 614-6047
   07/26/21 03:15:53 PM                  1 (806) 802-5055
   07/27/21 03:10:53 PM                  1 (281) 822-8685
   07/27/21 05:25:53 PM                  1 (940) 841-7432
   07/27/21 06:21:53 PM                  1 (979) 205-8440
   07/28/21 02:29:54 PM                  1 (972) 584-7865
   07/28/21 05:12:54 PM                  1 (214) 263-6559
   08/13/21 03:48:48 PM                  1 (469) 638-0901
   08/13/21 06:43:05 PM                  1 (210) 634-8738
   08/20/21 12:14:43 PM                  1 (346) 414-8920
   08/20/21 12:29:44 PM                  1 (806) 720-9117
   08/20/21 12:46:44 PM                  1 (210) 941-7380
   08/25/21 03:14:56 PM                  1 (713) 428-2230
   08/25/21 03:25:25 PM                  1 (737) 215-8805
   08/25/21 03:25:25 PM                  1 (737) 215-8805
   08/25/21 06:40:57 PM                  1 (214) 644-2740
   08/26/21 05:24:14 PM                  1 (817) 595-6743
   08/26/21 06:53:47 PM                  1 (903) 787-5380
   08/26/21 06:57:11 PM                  1 (512) 686-6570


                                     7
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 8 of 15 PageID #: 8




   08/27/21 04:27:22 PM                  1 (936) 202-8520
   08/30/21 02:27:14 PM                  1 (210) 404-4208
   08/30/21 06:34:03 PM                  1 (361) 257-1953
   08/31/21 12:52:06 PM                  1 (469) 554-0879
   08/31/21 03:39:51 PM                  1 (972) 927-4267
   09/03/21 06:51:07 PM                  1 (713) 215-7356
   09/07/21 01:27:03 PM                  1 (936) 600-5601
   09/07/21 01:46:36 PM                  1 (956) 208-4848
   09/07/21 01:50:00 PM                  1 (713) 427-4357
   09/07/21 03:57:48 PM                  1 (806) 832-4646
   09/09/21 12:57:47 PM                  1 (361) 364-7908
   09/15/21 01:37:55 PM                  1 (806) 324-018
   09/15/21 03:14:50 PM                  1 (972) 778-8360
   09/15/21 03:36:56 PM                  1 (512) 929-0141
   09/16/21 11:57:42 AM                  1 (210) 817-5167
   09/28/21 05:25:24 PM                  1 (903) 357-4228
   09/28/21 06:47:34 PM                  1 (325) 240-7195
   09/30/21 05:17:04 PM                  1 (210) 494-9211
   10/01/21 03:00:38 PM                  1 (817) 464-5732
   10/05/21 01:09:43 PM                  1 (409) 840-2954
   10/12/21 01:19:22 PM                  1 (254) 638-2442
   10/13/21 12:59:11 PM                  1 (346) 325-1154
   10/13/21 01:08:25 PM                  1 (361) 723-0020
   10/13/21 01:33:36 PM                  1 (430) 888-0820
   10/13/21 05:12:47 PM                  1 (281) 367-6092
   10/14/21 12:14:37 PM                  1 (430) 543-4928
   10/14/21 01:38:16 PM                  1 (214) 653-2291
   10/14/21 07:23:40 PM                  1 (972) 252-3600
   10/15/21 02:34:26 PM                  1 (210) 562-1470
   10/15/21 02:34:26 PM                  1 (210) 245-4710
   10/18/21 02:31:47 PM                  1 (956) 450-6906
   10/19/21 12:56:38 PM                  1 (281) 986-2506
   10/19/21 12:59:54 PM                  1 (281) 590-3658
   10/19/21 06:31:14 PM                  1 (915) 409-4450
   10/19/21 06:31:14 PM                  1 (713) 270-5168
   10/19/21 06:43:51 PM                  1 (806) 665-7465


                                     8
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 9 of 15 PageID #: 9




   10/20/21 03:29:25 PM                  1 (832) 239-9180
   10/20/21 05:20:24 PM                  1 (713) 469-4139
   10/21/21 01:41:37 PM                  1 (903) 978-2743
   10/21/21 02:57:11 PM                  1 (972) 929-1554
   10/21/21 03:48:35 PM                  1 (940) 282-2984
   10/22/21 02:44:03 PM                  1 (972) 649-0160
   10/25/21 02:17:37 PM                  1 (979) 677-5493
   10/25/21 02:49:01 PM                  1 (469) 658-4301
   10/26/21 12:51:02 PM                  1 (713) 643-5086
   10/26/21 02:55:29 PM                  1 (956) 247-6189
   10/27/21 12:50:21 PM                  1 (903) 825-8237
   10/27/21 06:41:37 PM                  1 (806) 453-8958
   10/28/21 01:11:37 PM                  1 (210) 261-5988
   10/28/21 01:11:37 PM                  1 (210) 261-5988
   10/28/21 03:27:12 PM                  1 (254) 602-4854
   10/29/21 12:48:23 PM                  1 (512) 397-6081
   11/01/21 12:15:24 PM                  1 (915) 615-1264
   11/03/21 01:09:27 PM                  1 (281) 594-7753
   11/04/21 01:06:20 PM                  1 (281) 483-1432
   11/04/21 02:58:11 PM                  1 (682) 219-0186
   11/04/21 03:06:25 PM                  1 (817) 774-2249
   11/04/21 03:06:25 PM                  1 (817) 774-2249
   11/05/21 12:12:57 PM                  1 (956) 509-2864
   11/08/21 06:37:08 PM                  1 (469) 302-3048
   11/08/21 06:37:08 PM                  1 (817) 460-9611
   11/12/21 04:54:16 PM                  1 (210) 444-2881
   11/16/21 05:15:37 PM                  1 (915) 283-3466
   11/17/21 02:15:41 PM                  1 (817) 332-0206
   11/18/21 12:22:38 PM                  1 (806) 551-2739
   11/30/21 12:57:58 PM                  1 (915) 288-3747
   11/30/21 02:40:27 PM                  1 (817) 519-7098
   11/30/21 02:53:29 PM                  1 (979) 742-3392
   11/30/21 04:47:34 PM                  1 (903) 614-5014
   12/01/21 05:36:36 PM                  1 (469) 713-6835
   12/02/21 04:35:00 PM                  1 (361) 351-7268
   12/03/21 01:25:43 PM                  1 (940) 230-2789


                                     9
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 10 of 15 PageID #: 10




      12/07/21 01:09:42 PM                              1 (281) 584-3678
      12/07/21 02:19:45 PM                              1 (972) 235-6558
      12/07/21 06:14:16 PM                              1 (817) 389-0293
      12/08/21 05:44:21 PM                              1 (713) 526-3446
      12/09/21 01:54:05 PM                              1 (903) 957-1131
      12/10/21 01:19:19 PM                              1 (830) 529-0012
      12/10/21 04:41:50 PM                              1 (469) 466-7753
      12/10/21 04:55:15 PM                              1 (903) 420-0328
      12/13/21 11:19:21 AM                              1 (214) 945-0776
      12/13/21 04:05:27 PM                              1 (830) 444-0987
      12/13/21 05:00:49 PM                              1 (361) 993-4084
      12/14/21 01:59:15 PM                              1 (281) 594-7727
      12/14/21 02:26:47 PM                              1 (806) 496-7370
      12/14/21 02:45:21 PM                              1 (210) 568-3064
      12/14/21 04:18:24 PM                              1 (325) 340-4635
      12/15/21 11:58:54 AM                              1 (430) 360-2998
      12/15/21 01:47:19 PM                              1 (737) 701-5712
      12/15/21 02:08:35 PM                              1 (936) 258-4058
      12/17/21 05:44:27 PM                              1 (208) 778-5599


        26.     Mr. Compton received additional calls to his cell phone from Defendants not included

in the list above. In fact, as of the date of this filing, Mr. Compton is still receiving such unwanted

and irritating calls.

        27.     Despite the requirements of 47 U.S.C. § 227(e)(1), Defendants hid their identity by,

inter alia, masking their actual phone numbers and instead using “spoofed” numbers, that have

traditionally been difficult to trace.

        28.     Furthermore, the calling parties do not disclose their identities in the pre-recorded

messages that played when Compton answered the calls.

        29.     Accordingly, despite Compton’s best efforts, the identities of the parties making

unlawful robocalls remain elusive.



                                                  10
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 11 of 15 PageID #: 11




       30.       The frequent telemarketing robocalls were irritating, disruptive and an invasion of Mr.

Compton’s privacy.

       31.       Furthermore, the efforts to conceal the identities of the calling parties was a deceptive

business practice that caused Compton to incur pecuniary and ascertainable damages.

       32.       The foregoing acts and omissions were in violation of the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (“TCPA.”)

                                            COUNT I
                        Defendants Violated 47 U.S.C. § 227(b) of the TCPA


       33.       Compton incorporate the forgoing paragraphs as though the same were set forth at

length herein.

       34.       The TCPA prohibits placing calls or texts using an automatic telephone dialing system

or automatically generated or prerecorded voice to a cellular telephone except where the caller has the

prior express consent of the called party to make such calls or where the call is made for emergency

purposes. 47 U.S.C. § 227(b)(1)(A)(iii).

       35.       By placing prerecorded voice calls to the cell phones of the Comptons without first

obtaining that prior express written consent Defendants violated the TCPA, including, but not limited

to 47 U.S.C. § 227(b)(1).

       36.       Defendants’ calls were not made for “emergency purposes”.

       37.       Defendants’ calls to the Compton’ cell phones were made without any prior express

consent.

       38.       The TCPA provides for a private right of action and statutory damages of $500.00 per

violation, and up to $1,500.00 if the violation is determined to be willful. 47 U.S.C. § 227(b)(3).




                                                    11
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 12 of 15 PageID #: 12




          39.   Defendants’ acts as described above were done with malicious, intentional, willful,

reckless, wanton and negligent disregard for Compton’ rights under the law and with the purpose of

harassing Plaintiff.

          40.   The acts and/or omissions of Defendants were done unfairly, unlawfully, intentionally,

deceptively and fraudulently and absent bona fide error, lawful right, legal defense, legal justification

or legal excuse.

          41.   As a result of the above violations of the TCPA, Compton have suffered the losses and

damages as set forth above entitling Plaintiff to an award of statutory, actual and trebles damages, as

well as declaratory and injunctive relief.




                                              COUNT II
                       Defendants Violated 47 U.S.C. § 227(c)(5) of the TCPA

          42.   Plaintiff incorporates the forgoing paragraphs as though the same were set forth at length

herein.

          43.   The TCPA prohibits any person or entity of initiating any telephone solicitation to a

residential telephone subscriber who has registered his or her telephone number on the National Do-Not-

Call Registry of persons who do not wish to receive telephone solicitations that is maintained by the

Federal Government. 47 U.S.C. § 227(c).

          44.   Defendants contacted the Plaintiff despite the fact that the Mr. Compton has been registered

his number on the Do Not Call Registry since as early as July 1, 2014.

          45.   The TCPA provides that it is a violation of the law for a person whose phone number is

registered on the National Do Not Call Registry to receive more than one solicitation call on their phone

“within any 12-month period by or on behalf of the same entity.” See 47 U.S.C. §§ 227(c)(1), (c)(5); 47

C.F.R. § 64.1200(c)(ii).

                                                   12
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 13 of 15 PageID #: 13




          46.   The TCPA defines a “telephone solicitation” as a “call or message for the purpose of

encouraging the purchase of goods, or services which is transmitted to any person.” 47 U.S.C. §227(a)(4).

          47.   The Federal Communications Commission’s regulations implementing the TCPA provide

that telephone solicitations cannot be made to a recipient without the recipient’s “prior express written

consent.” See FCC 12-21, CG Docket 02-278 (effective October 16, 2013); 47 C.F.R § 64.1200(a)(2).

          48.   The penalty for each call made in violation of the TCPA’s restrictions on placing

telemarketing calls to numbers registered on the National Do Not Call Registry is $500.00 per violation

and up to $1,500.00 per violation if the violation is determined to be willful. See 47 U.S.C. §§ 227(c)(5).

          49.   In addition, the TCPA allows the Court to enjoin Defendants’ violations of the TCPA’s

regulations prohibiting calls to phone numbers registered on the National Do Not Call Registry. See 47

U.S.C. § 227(c)(5)(A).

          50.   By calling the Mr. Compton’s cell phone after his telephone number was registered on the

National Do Not Call Registry, Defendants violated the TCPA, including, but not limited to, 47 U.S.C. §§

227(c)(1) and the TCPA’s corresponding regulations.

          51.   Defendants knew or should have known that the Mr. Compton had his telephone number

registered on the Do Not Call Registry.

          52.   Plaintiff is entitled to damages of $500.00 per violation for each call placed and up to

$1,500.00 per violation if the Court finds that Defendants willfully violated the TCPA.



                                      COUNT III
                      DEFENDANT VIOLATED THE TCPA 47 U.S.C. § 227(e)
                                    Injunctive Relief

          53.   Plaintiff incorporates the forgoing paragraphs as though the same were set forth at length

herein.



                                                  13
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 14 of 15 PageID #: 14




        54.    47 U.S.C.S. § 227(e)(1) provides it “shall be unlawful for any person within the United

States, or any person outside the United States if the recipient is within the United States, in connection

with any voice service or text messaging service, to cause any caller identification service to knowingly

transmit misleading or inaccurate caller identification information with the intent to defraud, cause harm,

or wrongfully obtain anything of value, unless such transmission is exempted pursuant to paragraph

(3)(B).”

        55.    Defendants masked their identities in a manner that was deceptive, rendering Plaintiff

unable to ascertain the identities of the calling parties without subpoena power and therefore unable to

stop the calls or seek recourse in court without first having subpoena power.

        56.    Those acts and omissions by Defendants caused Plaintiff to incur damages and pecuniary

harm.

        57.    Plaintiff seeks injunctive relief in the form of an Order requiring the Defendants to

demonstrate to the Court that they have ceased and desisted their practice of masking their identities and

“spoofing” their phone numbers.




                                      PRAYER FOR RELIEF
Wherefore, Plaintiff, Lee Compton, respectfully prays for judgment as follows:


               a. All actual damages suffered (as provided under 47 U.S.C. § 227(b)(3)(A));

               b. Statutory damages of $500.00 per violative telephone call (as provided under 47
                  U.S.C. § 227(b)(3)(B));

               c. Treble damages of $1,500.00 per violative telephone call (as provided under 47
                  U.S.C. § 227(b)(3));

               d. Statutory damages of $500.00 per violative telephone call (as provided under 47
                  U.S.C. § 227(c)(5)(B));



                                                  14
Case 4:22-cv-00331-ALM Document 1 Filed 04/20/22 Page 15 of 15 PageID #: 15




               e. Treble damages of $1,500.00 per violative telephone call (as provided under 47
                  U.S.C. § 227(c)(5)(C);

               f. Injunctive relief as provided under 47 U.S.C. § 227(b)(3) and (c);

               g. Injunctive relief as provided under 47 U.S.C. § 227(e);

               h. Declaratory relief; and

               i. Any other relief this Honorable Court deems appropriate.



                                  DEMAND FOR JURY TRIAL

Please take notice that Plaintiff, Lee Compton, demands a jury trial in this case.


                                                  Respectfully submitted,

 Dated: April 19, 2022                            By: /s/ Jacob U. Ginsburg
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